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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION



 KT IMAGING USA, LLC,

                                         Plaintiff,          Civil Action No.: 4:22-cv-3440

                         v.                                  JURY TRIAL DEMANDED

 ZHEJIANG DAHUA TECHNOLOGY CO.,
 LTD., ZHEJIANG DAHUA VISION
 TECHNOLOGY CO., LTD., DAHUA
 TECHNOLOGY (HK) LIMITED, LOREX
 TECHNOLOGY INC., and AMCREST
 TECHNOLOGIES LLC,

                                      Defendants.


                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff KT Imaging USA, LLC (“KTI” or “Plaintiff”), by way of this Complaint against

Zhejiang Dahua Technology Co., Ltd., Zhejiang Dahua Vision Technology Co., Ltd., Dahua

Technology (HK) Limited (collectively “Dahua”), Lorex Technology Inc. (“Lorex”), and

Amcrest Technologies LLC (“Amcrest”) (collectively “Defendants,” and each a “Defendant”),

alleges as follows:

                                             PARTIES

1.     Plaintiff KT Imaging USA, LLC is a limited liability company organized and existing

under the laws of the State of Texas, having its principal place of business at 106 E 6 th Street,

Suite 900, Austin, TX 78701.

2.     On information and belief, Defendant Zhejiang Dahua Technology Co., Ltd. is a

corporation organized and existing under the laws of China, having its principal place of

business at No. 1199, Bin’an Road, Binjiang District, Hangzhou 310053, China.


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3.     On information and belief, Defendant Zhejiang Dahua Vision Technology Co., Ltd. is a

corporation organized and existing under the laws of China, having its principal place of

business at No. 1199, Bin’an Road, Binjiang District, Hangzhou 310053, China. On information

and belief, Zhejiang Dahua Vision Technology Co., Ltd. is wholly owned subsidiary of Zhejiang

Dahua Technology Co., Ltd.

4.     On information and belief, Defendant Dahua Technology (HK) Limited is a corporation

organized and existing under the laws of Hong Kong, having its principal place of business at

Factory Flat No. 2 21/F, Wing Shing Industrial Building, No. 26 Ng Fong St, San Po Kong, HK.

On information and belief, Dahua Technology (HK) Limited is “the overseas business entity of

[Zhejiang Dahua Technology Co., Ltd.], … does not have autonomy over its business activities,

which are the extension of the business activities of [Zhejiang Dahua Technology Co., Ltd.],

constituting the business activities of [Zhejiang Dahua Technology Co., Ltd.]” See 2021 Annual

Report of Zhejiang Dahua Technology Co., Ltd. at

https://pdf.dfcfw.com/pdf/H2_AN202205131565354725_1.pdf.

5.     On information and belief, Defendant Lorex Technology Inc. is a corporation organized

and existing under the laws of Canada, having its principal place of business at 250 Royal Crest

Court, Markham, Ontario, Canada L3R3S1. On information and belief, Lorex Technology Inc.

is wholly owned subsidiary of Zhejiang Dahua Technology Co., Ltd.

6.     On information and belief, Defendant Amcrest Technologies LLC is a limited liability

company organized and existing under the laws of the State of Texas, having its principal place

of business at 16727 Park Row, Houston, Texas 77084. On information and belief, Amcrest

purchases and re-sells Dahua-manufactured products under the Amcrest brand.

                                JURISDICTION AND VENUE

7.     This is an action under the patent laws of the United States, 35 U.S.C. §§ 1, et seq., for


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infringement by the Defendants of claims of U.S. Patent Nos. 6,876,544; 7,196,322; 8,004,602,

and 8,314,481 (collectively, “the Patents-in-Suit”).

8.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

9.     Dahua is subject to personal jurisdiction of this Court because, inter alia, on information

and belief, (i) Dahua has committed and continues to commit acts of patent infringement in the

State of Texas, including by making, using, offering to sell, selling, and/or importing the accused

products into Texas including in this Judicial District; (ii) Dahua purposefully supplies and

directs the accused products for storage, warehousing, and/or sales by distributors and resellers

in the State of Texas including in this Judicial District; (iii) Dahua delivers its products into the

stream of commerce with the expectation that they will be purchased by consumers in the State

of Texas including in this Judicial District and derive revenues from products sold to Texas

residents; (iv) Dahua uses its trademark on the accused products sold in the State of Texas; and

(v) Dahua is an original equipment manufacturer for Amcrest Technologies LLC, a Texas

limited liability company.

10.    In addition, or in the alternative, this Court has personal jurisdiction over Dahua pursuant

to Fed. R. Civ. P. 4(k)(2).

11.    Venue is proper in this district under 28 U.S.C. 1391(c) because, inter alia, Dahua are

foreign corporations.

12.    9.      Lorex is subject to personal jurisdiction of this Court because, inter alia, on

information and belief, (i) Lorex has committed and continues to commit acts of patent

infringement in the State of Texas, including by making, using, offering to sell, selling, and/or

importing the accused products into Texas including in this Judicial District; (ii) Lorex

purposefully supplies and directs the accused products for storage, warehousing, and/or sales by




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distributors and resellers in the State of Texas including in this Judicial District; (iii) Lorex

delivers its products into the stream of commerce with the expectation that they will be

purchased by consumers in the State of Texas including in this Judicial District and derive

revenues from products sold to Texas residents; and (iv) Lorex uses its trademark on the accused

products sold in the State of Texas. For example, customers in the State of Texas can purchase

and receive accused products from Lorex’s website at www.lorex.com.

13.     In addition, or in the alternative, this Court has personal jurisdiction over Lorex pursuant

to Fed. R. Civ. P. 4(k)(2).

14.     Venue is proper in this district under 28 U.S.C. 1391(c) because, inter alia, Lorex is a

foreign corporation.

15.     Amcrest is subject to personal jurisdiction of this Court because, inter alia, on

information and belief (i) Amcrest maintains a regular and established place of business in this

Judicial District located at 16727 Park Row, Houston, Texas 77084; (ii) Amcrest sells products

and services to customers in this Judicial District, (iii) the patent infringement claims arise

directly from Amcrest’s continuous and systematic activity in the State of Texas; and (iv)

Amcrest actively employs and seeks the services of Texas residents in the State of Texas.

16.     Venue is proper as to Amcrest in this Judicial District under 28 U.S.C. § 1400(b)

because, inter alia, on information belief, Amcrest has a regular and established place of

business in this Judicial District located at 16727 Park Row, Houston, Texas 77084, and has

committed acts of patent infringement in this Judicial District and/or contributed to or induced

acts of patent infringement by others in this Judicial District.

                                          BACKGROUND

17.     On April 5, 2005, the United States Patent and Trademark Office duly and lawfully

issued U.S. Patent No. 6,876,544 (“the ’544 Patent”), entitled “Image Sensor Module and


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Method for Manufacturing the Same.”

18.    On March 27, 2007, the United States Patent and Trademark Office duly and lawfully

issued U.S. Patent No. 7,196,322 (“the ’322 Patent”), entitled “Image Sensor Package.”

19.    On August 23, 2011, the United States Patent and Trademark Office duly and lawfully

issued U.S. Patent No. 8,004,602 (“the ’602 Patent”), entitled “Image Sensor Structure and

Integrated Lens Module Thereof.”

20.    On November 20, 2012, the United States Patent and Trademark Office duly and lawfully

issued U.S. Patent No. 8,314,481 (“the ’481 Patent”), entitled “Substrate Structure for an Image

Sensor Package and Method for Manufacturing the Same.”

21.    KTI is the assignee and owner of the right, title, and interest in and to the Patents-in-Suit,

including the right to assert all causes of action arising under said patent and the right to any

remedies for infringement it.

22.    Defendants have infringed and continues to infringe the Patents-in-Suit by making, using,

selling, or offering for sale in the United States, or importing into the United States video

technology products, such as security cameras and/or video doorbells, with image sensors.

Attachment A to this Complaint provides a non-exhaustive listing of Accused Products.

                    COUNT I: INFRINGEMENT OF THE ’544 PATENT

23.    Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

24.    On information and belief, Defendants have infringed the ’544 Patent pursuant to 35

U.S.C. § 271(a), literally or under the doctrine of equivalents, by making, using, offering to sell,

selling in the United States, or importing into the United States the Accused Products and all

other products with substantially similar imaging sensors.

25.    For example, on information and belief, Defendants have infringed and continue to

infringe at least claim 1 of the ’544 Patent by including an image sensor module to be mounted


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to a printed circuit board in the Accused Products including the Amcrest 4MP USB Webcam

(AWC496). See Ex. 1 (cross-sectional image of the Amcrest 4MP USB Webcam image sensor).

The image sensor module in the Accused Products comprises a substrate having an upper surface

formed with a plurality of first connection points, and a lower surface formed with a plurality of

second connection points, which is electrically connected to the printed circuit board. See Exs.

2, 3 (cross-sectional image of the Amcrest 4MP USB Webcam image sensor and image of the

Amcrest 4MP USB Webcam image sensor with the internal components exposed). The image

sensor module further comprises a photosensitive chip mounted to the upper surface of the

substrate. See Ex. 2 (cross-sectional image of the Amcrest 4MP USB Webcam image sensor).

The image sensor module further comprises a plurality of wires for electrically connecting the

photosensitive chip to the first connection points on the upper surface of the substrate. See Ex. 3

(image of the Amcrest 4MP USB Webcam image sensor with the internal components exposed).

The image sensor module further comprises a frame layer mounted to the upper surface of the

substrate to surround the photosensitive chip, an inner edge of the frame layer being formed with

an internal thread from top to bottom, and a transparent layer being fixed by the frame layer such

that the photosensitive chip may receive optical signals passing through the transparent layer.

See Ex. 2 (cross-sectional image of the Amcrest 4MP USB Webcam image sensor). The image

sensor module further comprises a lens barrel formed with a chamber at a center thereof and an

external thread at an outer edge thereof, the external thread being screwed to the internal thread

of the frame layer, wherein the lens barrel has a through hole and an aspheric lens from top to

bottom. See Ex. 1 (cross-sectional image of the Amcrest 4MP USB Webcam image sensor).

26.    On information and belief, Defendants have induced infringement of the ’544 Patent

pursuant to 35 U.S.C. § 271(b), by actively and knowingly inducing, directing, causing, and




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encouraging others, including, but not limited to, their partners, resellers, distributors, customers,

and end users, to make, use, sell, and/or offer to sell in the United States, and/or import into the

United States, the Accused Products by, among other things, providing the accused products and

incorporated image sensor technology, specifications, instructions, manuals, advertisements,

marketing materials, and technical assistance relating to the installation, set up, use, operation,

and maintenance of said products.

27.    On information and belief, Defendants have committed the foregoing infringing activities

without a license.

                     COUNT II: INFRINGEMENT OF THE ’322 PATENT

28.    Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

29.    On information and belief, Defendants have infringed the ’322 Patent pursuant to 35

U.S.C. § 271(a), literally or under the doctrine of equivalents, by making, using, offering to sell,

selling in the United States, or importing into the United States the Accused Products and all

other products with substantially similar imaging sensors.

30.    For example, on information and belief, Defendants have infringed and continue to

infringe at least claim 1 of the ’322 Patent by including an image sensor module in the Accused

Products, including the Amcrest 4MP USB Webcam (AWC496). See Ex. 1 (cross-sectional

image of the Amcrest 4MP USB Webcam image sensor). The image sensor module structure in

the Accused Products comprises a substrate having an upper surface, and a lower surface on

which second electrodes are formed. See Exs. 1, 2 (cross-sectional images of the Amcrest 4MP

USB Webcam image sensor). The image sensor module structure in the Accused Products

further comprises a frame layer arranged on the upper surface of the substrate, a cavity formed

between the frame layer and substrate, and a plurality of first electrodes are formed on the frame

layer. See Ex. 3 (image of the Amcrest 4MP USB Webcam image sensor with the internal


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components exposed). The image sensor module structure in the Accused Products further

comprises a photosensitive chip mounted on the upper surface of the substrate and located within

the cavity, and electrically connected to the first electrodes of the frame layer. See Exs. 2, 3

(cross-sectional image of the Amcrest 4MP USB Webcam image sensor and image of the

Amcrest 4MP USB Webcam image sensor with the internal components exposed). The image

sensor module structure in the Accused Products further comprises a lens holder having an upper

end face, a lower end face, and an opening penetrating through the lens holder from the upper

end face to the lower end face, the upper end of the opening formed with an internal thread and

the lower end of the opening formed with a breach, so that the internal diameter of the upper end

of the opening is smaller than the lower end of the opening, the lens holder adhered on the upper

surface of the substrate by glue, wherein, the frame layer is located within the breach of the lens

holder. See Exs. 1-3 (cross-sectional images of the Amcrest 4MP USB Webcam image sensor

and image of the Amcrest 4MP USB Webcam image sensor with the internal components

exposed). The image sensor module structure in the Accused Products further comprises a lens

barrel having an upper end face, a lower end face, and an external thread screwed to the internal

thread of the lens holder. See Ex. 1 (cross-sectional image of the Amcrest 4MP USB Webcam

image sensor).

31.    On information and belief, Defendants have induced infringement of the ’322 Patent

pursuant to 35 U.S.C. § 271(b), by actively and knowingly inducing, directing, causing, and

encouraging others, including, but not limited to, their partners, resellers, distributors, customers,

and end users, to make, use, sell, and/or offer to sell in the United States, and/or import into the

United States, the Accused Products by, among other things, providing the accused products and

incorporated image sensor technology, specifications, instructions, manuals, advertisements,




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marketing materials, and technical assistance relating to the installation, set up, use, operation,

and maintenance of said products.

32.    On information and belief, Defendants have committed the foregoing infringing activities

without a license.

                     COUNT III: INFRINGEMENT OF THE ’602 PATENT

33.    Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

34.    On information and belief, Defendants have infringed the ’602 Patent pursuant to 35

U.S.C. § 271(a), literally or under the doctrine of equivalents, by making, using, offering to sell,

selling in the United States, or importing into the United States the Accused Products and all

other products with substantially similar imaging sensors.

35.    For example, on information and belief, Defendants have infringed and continue to

infringe at least claim 1 of the ’602 Patent by including an image sensor structure with an

integrated lens module in the Accused Products including the Dahua 4MP IR 3.6mm ePoE Mini

Bullet Network Camera (N44CB33). See Ex. 4 (cross-sectional image of the Dahua 4MP IR

3.6mm ePoE Mini Bullet Network Camera image sensor). The image sensor structure in the

Accused Products comprises a chip having a plurality of light-sensing elements arranged on a

light sensing area of a first surface of the chip, a plurality of first conducting pads arranged

around the light-sensing area and electrically connected to the light-sensing elements, and at least

one conducting channel passing through the chip and electrically connected to the first

conducting pads at one end as well as extending along with a second surface of the chip. See

Exs. 5-7 (image of the Dahua 4MP IR 3.6mm ePoE Mini Bullet Network Camera image sensor

with the internal components exposed and cross-sectional images of the Dahua 4MP IR 3.6mm

ePoE Mini Bullet Network Camera). The image sensor structure in the Accused Products

comprises a lens module comprising a holder having a through hole and a contact surface on a


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bottom of the holder, wherein the contact surface is combined with the first surface, and at least

one lens completely embedded inside the through hole and integrated with the holder. See Exs.

4, 7 (cross-sectional images of the Dahua 4MP IR 3.6mm ePoE Mini Bullet Network Camera

image sensor).

36.    On information and belief, Defendants have induced infringement of the ’602 Patent

pursuant to 35 U.S.C. § 271(b), by actively and knowingly inducing, directing, causing, and

encouraging others, including, but not limited to, their partners, resellers, distributors, customers,

and end users, to make, use, sell, and/or offer to sell in the United States, and/or import into the

United States, the Accused Products by, among other things, providing the accused products and

incorporated image sensor technology, specifications, instructions, manuals, advertisements,

marketing materials, and technical assistance relating to the installation, set up, use, operation,

and maintenance of said products.

37.    On information and belief, Defendants have committed the foregoing infringing activities

without a license.

                     COUNT IV: INFRINGEMENT OF THE ’481 PATENT

38.    Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

39.    On information and belief, Defendants have infringed the ’481 Patent pursuant to 35

U.S.C. § 271(a), literally or under the doctrine of equivalents, by making, using, offering to sell,

selling in the United States, or importing into the United States the Accused Products and all

other products with substantially similar imaging sensors.

40.    For example, on information and belief, Defendants have infringed and continue to

infringe at least claim 1 of the ’481 Patent by including a substrate structure for an image sensor

package in the Accused Products including the Dahua 2MP WiFi Video Doorbell (DHI-DB11).

See Ex. 8 (cross-sectional image of the Dahua 2MP WiFi Video Doorbell image sensor). The


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substrate structure in the Accused Products comprises a bottom base having an upper surface

formed with a plurality of first electrodes, and a lower surface formed with a plurality of second

electrodes, wherein an insulation layer is coated between first electrodes and in direct surface

contact with the upper surface of the bottom base. See Exs. 9, 10 (image of the Dahua 2MP

WiFi Video Doorbell image sensor with the internal components exposed and cross-sectional

image of the Dahua 2MP WiFi Video Doorbell image sensor). The substrate structure in the

Accused Products comprises a frame layer arranged on and in direct surface contact with the first

electrodes and the insulation layer to form a cavity together with the bottom base, wherein the

insulation layer is interposed between the bottom base and the frame layer. See Exs. 9, 10

(image of the Dahua 2MP WiFi Video Doorbell image sensor with the internal components

exposed and cross-sectional image of the Dahua 2MP WiFi Video Doorbell image sensor).

41.    On information and belief, Defendants have induced infringement of the ’481 Patent

pursuant to 35 U.S.C. § 271(b), by actively and knowingly inducing, directing, causing, and

encouraging others, including, but not limited to, their partners, resellers, distributors, customers,

and end users, to make, use, sell, and/or offer to sell in the United States, and/or import into the

United States, the Accused Products by, among other things, providing the accused products and

incorporated image sensor technology, specifications, instructions, manuals, advertisements,

marketing materials, and technical assistance relating to the installation, set up, use, operation,

and maintenance of said products.

42.    On information and belief, Defendants have committed the foregoing infringing activities

without a license.




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                                        PRAYER FOR RELIEF

          WHEREFORE, KTI prays for judgment in its favor against Defendants for the following

relief:

          A.     Entry of judgment in favor of KTI against Defendants on all counts;

          B.     Entry of judgment that Defendants have infringed the Patent-in-Suit;

          C.     An order permanently enjoining Defendants from infringing the Patent-in-Suit;

          D.     Award of compensatory damages adequate to compensate KTI for Defendants’

infringement of the Patents-in-Suit, in no event less than a reasonable royalty as provided by 35

U.S.C. § 284;

          E.     KTI’s costs;

          F.     Pre-judgment and post-judgment interest on KTI’s award; and

          G.     All such other and further relief as the Court deems just or equitable.


                                   DEMAND FOR JURY TRIAL

          Pursuant to Rule 38 of the Fed. R. Civ. P., Plaintiff KTI hereby demands trial by jury in

this action of all claims so triable.


Dated: October 6, 2022

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